Case 2:25-cv-00411-SIL         Document 17-1       Filed 04/28/25     Page 1 of 8 PageID #: 52




                         INDIVIDUAL MOTION PRACTICES OF
                        MAGISTRATE JUDGE STEVEN I. LOCKE
                                     100 Federal Plaza
                                  Central Islip, NY 11722
                                      Courtroom 820
                Contact: Criminal matters: Kristin Gandiosi at (631) 712-5724
                           Civil matters: Law Clerks at (631) 712-5720

             THESE INDIVIDUAL RULES ARE IN EFFECT AS OF JULY 13, 2023

1. Electronic Case Filing (ECF)

A.     All documents in civil actions MUST be filed electronically, with the limited exception
       stated in paragraph 1(F), infra. Litigants proceeding pro se are exempt from ECF
       requirements. Information about ECF procedures, including the ECF User’s Guide, is
       available on the Eastern District Website [http://www.nyed.uscourts.gov]. For questions
       regarding ECF filing please call (718) 613-2571.

B.     All orders issued by Judge Locke will be transmitted electronically. Hard copies will not
       be mailed to attorneys. Accordingly, attorneys are responsible for keeping their e-mail
       addresses current with the Clerk’s Office. Hard copies will be mailed to pro se litigants,
       who are responsible for keeping their mailing addresses current with the Clerk’s Office.

C.     Any letter to Judge Locke requesting Court intervention, including those sent pursuant to
       Local Civil Rules 37.1 and 37.3 or requesting an adjournment or extension of discovery
       deadlines, must be electronically docketed under “Motions” and not under “Other
       Documents” as a “Letter.”

D.     Filing Documents under Seal. Documents may not be filed under seal without prior
       permission of the Court. For further instructions, see “Steps for E-filing Sealed
       Documents,” www.nyed.uscourts.gov/cmecf-documentation. Questions regarding these
       procedures should be directed to the Clerk’s Office.

E.     Hard copies of the following electronically filed papers must be sent to Chambers:

       i.       Letter Motions with exhibits or attachments exceeding 15 pages in total.

       ii.      Referred motions or motions on notice made to Judge Locke. Such papers
                must be clearly marked “Courtesy Copy” and indicate the ECF-assigned
                docket number. See Rule 4(C)(iv), infra, for further requirements.

       Hard copies of any other electronically filed papers should not be sent to Chambers.

F.     Ex parte settlement statements required by the Court should not be electronically filed.
       These statements may be emailed to Courtroom Deputy Kristin Gandiosi at
       kristin_gandiosi@nyed.uscourts.gov.

Page 1 of 8
Case 2:25-cv-00411-SIL        Document 17-1         Filed 04/28/25      Page 2 of 8 PageID #: 53




2. Communications with Chambers

A.     Telephone Calls. Telephone calls to Chambers are permitted. All questions regarding
       criminal matters should be directed to Kristin Gandiosi at (631) 712-5724. Other questions
       should be directed to the main Chambers number, (631) 712-5720. If a call concerns a
       request for relief, all parties must be present. If the parties are calling from a deposition,
       they should have the court reporter present to record any rulings.


B.     Requests for Adjournments or Extensions of Time. All requests for adjournments or
       extensions of time must be made in writing and filed electronically as motions at least
       two business days prior to the scheduled appearance, absent an emergency. Requests
       for adjournments or extensions must state the date of the original conference or deadline,
       the reason an adjournment or extension is needed, whether all parties consent (and
       reason(s) for withholding consent), and the number of prior adjournments or extensions.
       Requests to adjourn a court proceeding must list at least three alternative dates when all
       parties are available. Requests for extensions must establish good cause for the relief
       sought and must include a proposed amended scheduling order where appropriate.
       Requests for both adjournments and extensions of time must be filed electronically as
       “Motions.” See Rule 1(C), supra. Do not mail courtesy copies of these requests to
       Chambers.

3. Conferences

A.     All conferences before Judge Locke are conducted in person in Room 820 of the Central
       Islip Courthouse. For represented parties, responsible counsel must be present. Absent
       exceptional circumstances, appearances by phone are not permitted. If an attorney or party
       is going to be late to a conference due to extenuating circumstances, the delayed individual
       must contact his or her adversary, and if the adversary is unavailable, the Court, and advise
       of the delay and expected arrival time.

B.     Status Conferences. It is Judge Locke’s practice to schedule a status conference after the
       first round of document discovery is exchanged. If, at the time of the status conference,
       the parties have no issues that require the Court’s attention, the parties may write a joint
       letter to the Court explaining the status of the case and requesting that the status conference
       be cancelled. This letter should be electronically filed as a “Motion.” See Rule 1(C), supra.

C.     Settlement Conferences. Judge Locke is available to conduct settlement conferences as
       appropriate subject to the following practices. The parties should write a joint letter to the
       Court requesting a settlement conference. The letter should contain three dates when all
       attorneys AND parties are available. The Court will then select the first available of the
       designated dates that best fits the Court's schedule. All attorneys and parties must appear
       in person for settlement conferences. For corporate and similar entities, including
       governmental entities, someone with authority must be present. Prior to the settlement
       conference the parties must engage in one round of negotiations with a demand and
       response. Three days prior to the settlement conference, the parties should email an ex
       parte pre-conference letter to Judge Locke’s Courtroom Deputy, Kristin Gandiosi, at
Page 2 of 8
Case 2:25-cv-00411-SIL        Document 17-1         Filed 04/28/25      Page 3 of 8 PageID #: 54




       kristin_gandiosi@nyed.uscourts.gov. The letter should address the facts as each party
       understands them, any case law the parties want to bring to the Court’s attention, the history
       of settlement negotiations, and a realistic assessment of the party’s settlement position.

4. Motions

A.     Discovery or Other Non-Dispositive Motions.

       i.     Letter Motions: discovery or other non-dispositive motions may be made
              by letter motion, pursuant to Local Civil Rules 37.1 and 37.3, and filed
              electronically as a “Motion.” See Rule 1(C), supra. Parties must make a
              good faith effort to resolve disputes in person or by telephone, before
              making a motion. See Local Civil Rule 37.3 (a). Letter motions may not
              exceed three pages in length, exclusive of attachments. A response in
              opposition not exceeding three pages in length, exclusive of attachments,
              must be served and filed within four days. Replies are not permitted on
              letter motions. All letters must use one-inch margins, single spacing, and
              12 point font. No pre-motion conference is required.

       ii.    Motions on Notice: Although parties are encouraged to make discovery and
              other non-dispositive motions by letter pursuant to Local Rule 37.3, such
              motions may be made on notice pursuant to Local Civil Rule 6.1 and must
              comply with paragraph 4(C), infra. No pre-motion conference is required.

B.     Dispositive Motions. Dispositive motions, such as motions to dismiss and motions for
       summary judgment, must be made to the presiding District Judge, in conformance with his
       or her individual rules, unless the parties have consented to Judge Locke’s jurisdiction for
       all purposes in accordance with 28 U.S.C. §636 (c)(1).

C.     General Motion Practices for Motions on Notice Made to Judge Locke.

       i.     Service of Motions: Unless otherwise directed by the Court, motion papers
              shall be served in accordance with Local Civil Rule 6.1.

       ii.    Filing of Motions with the Court: With the exception of the motions set
              forth in paragraph 4(C)(vi), infra, all motions are subject to the “Bundle
              Rule,” that is, no motion papers shall be filed with the Court until the motion
              is fully briefed by both sides and exchanges of all papers have been made.
              All motion papers should be filed electronically on the same filing date, and
              the moving party is responsible for the filing of all motion papers.

              Parties are advised that compliance with district court motion rules does not
              excuse noncompliance with Fed. R. App. P. 4. See, e.g., Camacho v. City
              of Yonkers, 236 F.3d 112 (2d Cir. 2000).

       iii.   Memoranda of Law: Legal argument must be set forth in a memorandum
              of law. Unless prior permission has been granted, memoranda of law in
Page 3 of 8
Case 2:25-cv-00411-SIL          Document 17-1          Filed 04/28/25       Page 4 of 8 PageID #: 55




               support of and in opposition to motions on notice are limited to 25 pages,
               and reply memoranda are limited to 10 pages. Memoranda of 10 pages or
               more shall contain a table of contents. Case citations set forth in the body
               of the memoranda of law must contain pinpoint cites. All memoranda of
               law must use one inch margins, double spacing, and 12 point font.
               Affidavits or affirmations containing legal argument will be rejected. See
               Local Civil Rule 7.1(a). Any memoranda, affidavits, or affirmations not
               complying with the requirements set forth herein will be rejected.

       iv.     Courtesy Copies: After electronic filing, one hard copy of the motion
               papers shall be submitted to Judge Locke. Courtesy copies of dispositive
               motions made to the District Judge should not be provided to Judge Locke
               unless such motions have been referred to him. Courtesy copies must
               comply with the following requirements: (a) copies of all papers must be
               clearly marked as “Courtesy Copy” and indicate the ECF-assigned docket
               number(s), and (b) exhibits must have tabbed dividers that protrude beyond
               the edges of the page at either the bottom or side of the papers.

       v.      Oral Argument on Motions: Parties may request oral argument. The Court
               will determine whether argument will be heard and, if so, will advise
               counsel of the argument date.

       vi.     Motions Excepted from the Bundle Rule: The following motions are not
               subject to the Bundle Rule:

               a. Motions for admission pro hac vice

               b. Motions for reconsideration pursuant to Local Civil Rule 6.3 of orders
               issued by Judge Locke

               c. In cases on consent to Judge Locke, motions pursuant to Fed. R. Civ. P.
               50, 52, 59 or 60, motions pursuant to Fed. R. App. P. 4(a)(5), and motions
               brought by order to show cause

D.     Summary Judgment Motions in Cases on Consent to Judge Locke.

       i.      In cases where all parties are represented by counsel:

       Any party planning to make a motion for summary judgment must notify the Court
       of its intention by electronically filing a letter that (a) briefly states the basis for the
       motion and (b) sets forth a proposed briefing schedule agreed to by the parties. No
       pre-motion conference is necessary. The Court will then issue an order either
       approving the parties’ proposed briefing schedule or setting a new one. Service
       and Filing requirements are set forth in Rule 4 (C)(i-ii), supra.

       The movant must serve a Rule 56.1 Statement pursuant to Local Civil Rule 56.1; a
       Notice of Motion; an initial memorandum of law; and appropriate supporting
Page 4 of 8
Case 2:25-cv-00411-SIL           Document 17-1        Filed 04/28/25      Page 5 of 8 PageID #: 56




       documentation. The opponent must serve a Rule 56.1 Counterstatement pursuant
       to Local Civil Rule 56.1; a memorandum of law in opposition; and appropriate
       supporting documentation. The paragraphs in the Counterstatement must
       correspond to the paragraphs in the movant’s Statement. The movant may then
       serve a Reply Memorandum of Law. All documents must comply with the
       requirements set out in Rule 4(C), supra, and in Local Civil Rule 56.1. Any
       documents that do not comply will be rejected.

       ii.        In cases where one or more of the non-movants is appearing pro se:

       Where the party moving for summary judgment is represented by counsel and one
       or more of the non-movants is appearing pro se, the parties must follow the same
       steps set forth above in Rule 4(D)(i), plus, the movant must also serve on the pro
       se party or parties a Notice Pursuant to Local Civil Rule 56.2, and must include a
       copy of that Notice in the moving papers.

E.     Social Security Appeals on Consent to Judge Locke. Consistent with the dictates of Fed.
       R. Civ. P. 1, which requires the construction of all applicable rules “to secure the just,
       speedy, and inexpensive determination of every action and proceeding,” as well as this
       district’s Administrative Order 2015-05 (“In re: Scheduling in Social Security Cases”)
       (“AO”), the following shall apply in all Social Security disability appeals assigned to
       Magistrate Judge Locke on consent of the parties:

             i.   In all cases in which the plaintiff is represented by counsel, along with its
                  motion for judgment on the pleadings, as required by AO(ii)(A), the
                  plaintiff shall provide a “Statement of Contentions.” This statement,
                  conceptually similar to that required for summary judgment motions by
                  Local Rule 56.1, shall set forth a separate, short, and concise statement, in
                  numbered paragraphs, the contentions of the plaintiff as to the alleged legal
                  errors in the Secretary’s determination and/or the specific findings of the
                  decision of the Administrative Law Judge (“ALJ”) that, the plaintiff
                  contends, is not supported by substantial evidence. Failure to submit such a
                  statement may constitute grounds for denial of the motion, and failure to
                  identify a legal error or finding unsupported by substantial evidence may be
                  deemed a waiver of such argument. See Selian v. Astrue, 708 F.3d 409, 420
                  (2d Cir. 2013) (discussing forfeiture of arguments not presented to district
                  court); Estrella v. Berryhill, 925 F.3d 90, 98 (2d Cir. 2019) (“claimants in
                  Social Security cases must preserve legal arguments—not necessarily
                  factual ones”).

         ii.      The responsive papers filed by the defendant, as required by AO(ii)(B),
                  shall include an “Opposing Statement of Contentions,” containing
                  correspondingly numbered paragraph responding to each numbered
                  paragraph in the statement of the moving party. The failure to include such
                  an opposing statement may result in the striking of the opposition to the
                  motion.

Page 5 of 8
Case 2:25-cv-00411-SIL         Document 17-1        Filed 04/28/25       Page 6 of 8 PageID #: 57




        iii.   Each contention by the movant and opponent made pursuant to this rule
               must be followed by pinpoint citations to the administrative record,
               identifying evidence supporting and/or rebutting each said contention. By
               way of example, if plaintiff contends that the ALJ failed to properly assess
               the plaintiff’s residual functional capacity, the Statement of Contentions
               should identify with particularity the aspects of the plaintiff’s purported
               disability which were disregarded by the ALJ along with specific page
               citations identifying evidence supporting this claim. The Government, in
               turn, in its Opposing Statements should provide citations identifying the
               evidence which it believes the ALJ properly relied upon in reaching a
               determination as to those specific findings.

        iv.    Consistent with this Court’s individual rules, the following scheduling order
               will be entered in Social Security disability appeals assigned to Judge
               Locke: Defendant will obtain and serve upon the Plaintiff but not file the
               administrative record of the proceedings within 60 days of the date that this
               Order is docketed. Defendant’s answer to the complaint is waived. Within
               45 days from the filing of the record, plaintiff shall serve but not file upon
               defendant a motion for judgment on the pleadings. Within 45 days from the
               receipt of plaintiff’s motion, defendant shall serve but not file upon plaintiff
               its cross-motion. Any party wishing to file a reply memorandum of law shall
               serve such reply memorandum of law within 30 days of the receipt of the
               opposing memorandum of law. On that day, the movant(s) shall
               electronically file the entire set of motion papers, statement of contentions,
               and the administrative record with the Court in accordance with the
               “bundling rule.” After electronic filing, the movant(s) shall mail to the Court
               one hard copy of all motion papers marked as “Courtesy Copy” as per the
               undersigned’s individual rules. Defendant shall mail to the Court one hard
               copy of the Administrative Record.

5. Pretrial Procedures in Cases on Consent to Judge Locke

A.     Joint Pretrial Orders. On the date specified in the scheduling order, the parties shall submit
       a joint pretrial order that includes the following:

       i.      the full caption of the action;

       ii.     names, addresses (including firm names), and telephone and fax numbers
               of trial counsel;

       iii.    a brief statement by plaintiff as to the basis of subject matter jurisdiction,
               and a brief statement by each other party as to the presence or absence of
               subject matter jurisdiction. Such statements shall include citations to all
               statutes relied on and relevant facts as to citizenship and jurisdictional
               amount;

       iv.     a brief summary by each party of the claims and defenses that party has
Page 6 of 8
Case 2:25-cv-00411-SIL        Document 17-1         Filed 04/28/25      Page 7 of 8 PageID #: 58




               asserted which remain to be tried, without recital of evidentiary matter but
               including citations to all statutes relied on. Such summaries shall identify
               all claims and defenses previously asserted that are not to be tried;

       v.      a statement by each party as to whether the case is to be tried with or without
               a jury, and the number of trial days needed;

       vi.     any stipulations or agreed statements of fact or law that have been agreed to
               by all parties;

       vii.    a list by each party as to the fact and expert witnesses whose testimony is to
               be offered in its case in chief, indicating whether such witnesses will testify
               in person or by deposition. Only listed witnesses will be permitted to testify
               except when good cause is shown;

       viii.   a designation by each party of deposition testimony to be offered in its case
               in chief, with any cross-designations and objections by any other party; and,

       ix.     a pretrial memorandum, including citations to case law and/or the record as
               appropriate.

       x.       a schedule listing exhibits to be offered in evidence and, if not admitted by
               stipulation, the party or parties that will be offering them. The schedule
               must also include possible impeachment documents and/or exhibits, as well
               as exhibits that will be offered only on rebuttal. The parties must list and
               briefly describe the basis for any objections that they have to the
               admissibility of any exhibits to be offered by any other party. Parties are
               expected to resolve before trial all issues of authenticity, chain of custody,
               and related grounds. Only exhibits listed will be received in evidence
               except for good cause shown. All exhibits must be pre-marked for the trial
               and exchanged with the other parties at least ten days before trial. Where
               exhibits are voluminous, they should be placed in binders with tabs.

B.     Filings Prior to Trial. Unless otherwise ordered by the Court, each party shall
       electronically file, at least two weeks before the date of commencement of trial:

       i.      fully briefed motions in limine, if any;

       ii.     in jury cases, requests to charge and proposed voir dire questions. Requests
               to charge should be limited to the elements of the claims, the damages
               sought, and defenses. General instructions will be prepared by the Court.
               Proposed requests to charge must also be submitted in Word format by e-
               mail to the Courtroom Deputy: kristin_gandiosi@nyed.uscourts.gov;

       iii.    in jury cases, by claim, a detailed statement regarding damages and other
               relief sought;

Page 7 of 8
Case 2:25-cv-00411-SIL       Document 17-1        Filed 04/28/25   Page 8 of 8 PageID #: 59




       iv.    in non-jury cases, a statement of the elements of each claim or defense
              involving such party, together with a summary of the facts relied upon to
              establish each element;

       v.     in any case where such party believes it would be useful, a pretrial
              memorandum; and

       vi.    one copy of all exhibits, pre-marked in binders.




Page 8 of 8
